431 F.2d 481
    UNITED STATES of America, Plaintiff-Appellee,v.A. B. BISHOP, Defendant-Appellant.
    No. 29063 Summary Calendar.**Rule 18, 5th Cir.; See Isbell Enterprises, Inc.v.Citizens Casualty Co. of New York, et al., 5th Cir., 1970,
    
      431 F.2d 409, Part I.
      United States Court of Appeals, Fifth Circuit.
      Aug. 17, 1970.
      Harold W. Ochsner, Amarillo, Tex., (Ct. Apptd.), for appellant.
      Eldon B. Mahon, U.S. Atty., Fort Worth, Tex., W. E. Smith, Asst. U.S. Atty., Fort Worth, Tex., for appellee.
      Before THORNBERRY, MORGAN and CLARK, Circuit Judges.
      PER CURIAM:
    
    
      1
      On this appeal the record shows appellant voluntarily, with no improper promises or inducements, entered a plea of guilty to Count Two of a three-count indictment.  The record further reflects that Bishop was represented by competent counsel, and at the time he entered his plea had full knowledge and understanding of the essential facts, including the consequences of his guilty plea.  The assertion that a specimen of his handwriting was given by appellant prior to the time counsel was appointed for him is without merit.  The plea of guilty established his guilt of the offense charged.  Williams v. United States, 5 Cir., 1961, 290 F.2d 217.  No proof of defendant's guilt by use of handwritten specimens or any other evidence was required.  Hughes v. United States, 8 Cir., 1967, 371 F.2d 694.
    
    The judgment of conviction is
    
      2
      Affirmed.
    
    